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                                                                       United States District Court
                                                                         Southern District of Texas

                                                                            ENTERED
                                                                        September 22, 2022
                                                                         Nathan Ochsner, Clerk

                   UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION

        MACK M. SPEARS JR       § CIVIL ACTION NO
        and ELIAZAR SPEARS, § 4:21-cv-02936
                    Plaintiffs, §
                                §
                                §
             vs.                § JUDGE CHARLES ESKRIDGE
                                §
                                §
        WELLS FARGO BANK §
        NA,                     §
                   Defendant. §

                                 ORDER

           Plaintiff Eliazar Spears executed a Texas home equity
       adjustable rate note on July 18, 2006. It was secured by the
       property commonly known as 23993 Mossy Oaks Drive,
       New Caney, Texas 77357. See Dkt 20-1 at 9–14. She and
       her husband, Plaintiff Mack Spears Jr, executed a deed of
       trust on the property that same day. Id at 16–36. The deed
       of trust includes an optional right of acceleration and
       foreclosure. Id at 27; see also id at 11. Defendant Wells
       Fargo Bank NA has owned the note and deed of trust at all
       relevant times. Id at 73.
           The Spears failed to make timely payments on the note
       and filed for bankruptcy in February 2011. Id at 78–119
       & 168–71. That action concluded in August 2011. Id at 171.
       The Spears agreed to a loan modification agreement in July
       2018, but they again failed to make timely payments. Id
       at 78–119 & 122–31. Wells Fargo then issued a notice of
       default and intent to accelerate on November 29, 2018.
       Id at 135–40. It subsequently issued notice of acceleration
       in February 2019 after the Spears failed to cure the default.
       Id at 143–48. The Spears then filed a second bankruptcy
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       action in November 2019, which concluded in July 2021. Id
       at 177–84.
           The note remains due for the October 2018 payment
       and all subsequent payments. Id at 6; see also id at 78–119.
       As of June 22, 2022, the outstanding balance of the loan
       was at least $457,062.04. Dkt 19 at 5. The record also
       establishes that the United States Internal Revenue
       Service recorded a notice of federal tax liens on the
       property in June 2019. Id at 236–39.
           The Spears initiated this action in September 2021 in
       Texas state court to prevent foreclosure. Dkt 1-1 at 2. They
       brought claims for violations of the Texas Constitution and
       Property Code, to quiet title, and for declarations that the
       lien is void and the principal and interest are forfeited.
       Dkt 1-1 at 5–16. Wells Fargo removed, counterclaimed
       against the Spears for an order of foreclosure and for
       attorney fees, and sought an order declaring that the
       foreclosure sale will extinguish the liens maintained by the
       IRS. Dkts 1 & 12.
           Wells Fargo moved for summary judgment. Dkt 19.
       The Spears haven’t responded. Upon notice, the IRS
       responded that it wasn’t opposed to an order declaring the
       Wells Fargo lien as superior to the IRS liens, while
       requesting that certain provisions be included in the final
       judgment to protect its interests. Dkt 23. No party opposed
       the IRS requests.
           “It is well established in the Fifth Circuit that a federal
       court may not grant a ‘default’ summary judgment when
       no response has been filed.” Morgan v Federal Express
       Corp, 114 F Supp 3d 434, 437 (SD Tex 2015) (quotation
       marks and alteration omitted), citing Eversley v MBank of
       Dallas, 843 F2d 172, 174 (5th Cir 1988). But “if no response
       to the motion for summary judgment has been filed, the
       court may find as undisputed the statement of facts in the
       motion for summary judgment.” Ibid. The Fifth Circuit
       likewise holds that when a non-movant bears the burden
       of proof at trial, a movant may make a proper summary
       judgment motion under Rule 56 by alleging that the non-




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       movant has “no evidence” of its claims. Austin v Kroger
       Texas LP, 864 F3d 326, 335 (5th Cir 2017, per curiam).
             As to affirmative claims by the Spears, they bear the
       burden of proof. Wells Fargo asserts that their claims fail
       both as a matter of law and for lack of evidence. It further
       submits that undisputed evidence and controlling law
       entitle it to judgment against the Spears because (among
       other reasons) they failed to raise these claims in the prior
       bankruptcy actions, the Spears entered into a written loan
       modification agreement and affirmed the enforceability of
       the lien, and the loan complied with the Texas
       Constitution. See generally Dkt 19.
             Wells Fargo is entitled to summary judgment on all
       claims by the Spears.
             As to affirmative claims by Wells Fargo, it bears the
       burden of proof. Regarding its claim for an order of
       foreclosure, Wells Fargo must show that (i) a debt exists,
       (ii) it’s secured by a lien created under Texas law, (iii) the
       borrower is in default, and (iv) the borrower has been
       properly served with notice of default and acceleration.
       Huston v US Bank NA, 988 F Supp 2d 732, 740 (SD Tex
       2013), citing Tex Property Code § 51.002. The undisputed
       facts as outlined above establish each of these points, thus
       entitling Wells Fargo to summary judgment as against the
       Spears. It is likewise entitled to attorney fees pursuant to
       the undisputed terms of the loan agreement. Dkt 20-1 at 11
       & 22; see also Tex Civil Practice & Remedies Code § 38.001.
       And as noted, the IRS is unopposed to the request by Wells
       Fargo for an order declaring that a foreclosure sale will
       extinguish the liens maintained by the IRS. Dkt 23 at 2.
                                     * * *
             The motion by Defendant Wells Fargo Bank NA for
       summary judgment is GRANTED. Dkt 19.
             The claims by Plaintiffs are DISMISSED WITH PREJUDICE.
             It is hereby DECLARED that the deed of trust on the
       subject property secures (i) the outstanding balance of the
       loan, which was at least $457,062.04 as of June 22, 2022,
       plus all contractual interest, escrow advances, fees, costs,




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       and other items in the loan that are recoverable and have
       accrued since that date, (ii) pre-judgment interest, and
       (iii) post-judgment interest at the current rate as specified
       in the note from the date of this judgment until paid.
             It is further DECLARED that Defendant Wells Fargo
       Bank NA is entitled to attorney fees in an amount to be
       determined by subsequent motion practice as part of the
       debt owed under the loan agreement. All costs of this action
       are to be taxed against Plaintiffs.
             It is further DECLARED that Wells Fargo may proceed
       with foreclosure in accordance with the deed of trust and
       Texas Property Code § 51.002, or with judicial foreclosure
       under Texas Rule of Civil Procedure 309, on the property
       commonly known as 23993 Mossy Oaks Drive, New Caney,
       Texas 77357, and more particularly described as:
                  LOT 7, IN BLOCK 1, OF NORTHCREST
                  RANK, SECTION THREE (3), A SUB-
                  DIVISION IN MONTGOMERY COUNTY,
                  TEXAS, ACCORDING TO THE MAP OR
                  PLAT THEREOF, RECORDED IN CAB-
                  INET N, SHEETS 87, 88, 89, AND 90 OF
                  THE MAP RECORDS OF MONTGOMERY
                  COUNTY, TEXAS.
       See Dkt 19 at 2–3.
             Any notices regarding the foreclosure sale of the
       property may be sent to the borrowers at the property
       address. Wells Fargo must additionally provide notice of
       the date, time, and place of any proposed sale of the
       property to both the United States Internal Revenue
       Service at 1919 Smith Street, Houston, Texas 77002, and
       to the office of Assistant United States Attorney Chad W.
       Cowan at 1000 Louisiana Street, Suite 2300, Houston,
       Texas 77002.
             It is further DECLARED that any such foreclosure sale
       will extinguish liens maintained by the United States
       Internal Revenue Service on the subject property. But the
       IRS is entitled to any excess proceeds from the foreclosure
       sale of the subject property, as permitted by law and by the




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       terms of the notice of federal tax liens. The IRS also
       maintains its statutory right of redemption under 28 USC
       § 2410(c).
           Wells Fargo and the United States Internal Revenue
       Service may seek modification of this declaration within
       thirty days if other or different technical language is
       necessary to effectuate the foregoing relief granted.
           This is a FINAL JUDGMENT.
           Any pending motion is DENIED AS MOOT.
           SO ORDERED.
          Signed on September 22, 2022, at Houston, Texas.



                               __________________________
                               Hon. Charles Eskridge
                               United States District Judge




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